05-44481-rdd   Doc 7965-3 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                        A (Part 1b) of Affidavit Pg 1 of 26
05-44481-rdd   Doc 7965-3 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                        A (Part 1b) of Affidavit Pg 2 of 26
05-44481-rdd   Doc 7965-3 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                        A (Part 1b) of Affidavit Pg 3 of 26
05-44481-rdd   Doc 7965-3 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                        A (Part 1b) of Affidavit Pg 4 of 26
05-44481-rdd   Doc 7965-3 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                        A (Part 1b) of Affidavit Pg 5 of 26
05-44481-rdd   Doc 7965-3 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                        A (Part 1b) of Affidavit Pg 6 of 26
05-44481-rdd   Doc 7965-3 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                        A (Part 1b) of Affidavit Pg 7 of 26
05-44481-rdd   Doc 7965-3 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                        A (Part 1b) of Affidavit Pg 8 of 26
05-44481-rdd   Doc 7965-3 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                        A (Part 1b) of Affidavit Pg 9 of 26
05-44481-rdd   Doc 7965-3 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                       A (Part 1b) of Affidavit Pg 10 of 26
05-44481-rdd   Doc 7965-3 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                       A (Part 1b) of Affidavit Pg 11 of 26
05-44481-rdd   Doc 7965-3 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                       A (Part 1b) of Affidavit Pg 12 of 26
05-44481-rdd   Doc 7965-3 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                       A (Part 1b) of Affidavit Pg 13 of 26
05-44481-rdd   Doc 7965-3 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                       A (Part 1b) of Affidavit Pg 14 of 26
05-44481-rdd   Doc 7965-3 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                       A (Part 1b) of Affidavit Pg 15 of 26
05-44481-rdd   Doc 7965-3 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                       A (Part 1b) of Affidavit Pg 16 of 26
05-44481-rdd   Doc 7965-3 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                       A (Part 1b) of Affidavit Pg 17 of 26
05-44481-rdd   Doc 7965-3 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                       A (Part 1b) of Affidavit Pg 18 of 26
05-44481-rdd   Doc 7965-3 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                       A (Part 1b) of Affidavit Pg 19 of 26
05-44481-rdd   Doc 7965-3 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                       A (Part 1b) of Affidavit Pg 20 of 26
05-44481-rdd   Doc 7965-3 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                       A (Part 1b) of Affidavit Pg 21 of 26
05-44481-rdd   Doc 7965-3 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                       A (Part 1b) of Affidavit Pg 22 of 26
05-44481-rdd   Doc 7965-3 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                       A (Part 1b) of Affidavit Pg 23 of 26
05-44481-rdd   Doc 7965-3 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                       A (Part 1b) of Affidavit Pg 24 of 26
05-44481-rdd   Doc 7965-3 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                       A (Part 1b) of Affidavit Pg 25 of 26
05-44481-rdd   Doc 7965-3 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                       A (Part 1b) of Affidavit Pg 26 of 26
